





















Opinion issued April 1, 2010



&nbsp;

In The

Court of
Appeals

For The

First District
of Texas

————————————

NO. 01-08-00532-CR

———————————

Zaric Travon Jones, Appellant

V.

The State of
Texas, Appellee



&nbsp;



&nbsp;

On Appeal from the 434th District Court &nbsp;

Fort Bend County, Texas



Trial Court Case No. 47260

&nbsp;



MEMORANDUM OPINION 

Appellant, Zaric Travon Jones, was
convicted by a jury of the offense of aggravated robbery, and assessed his
punishment at confinement for 25 years.&nbsp;
We affirm.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Appellant’s
counsel on appeal has filed a brief stating that the record&nbsp; presents no reversible error, that the appeal
is without merit and is frivolous, and that the appeal must be dismissed or
affirmed.&nbsp; See Anders v. California,
386 U.S. 738, 87 S.Ct. 1396, (1967). The brief meets the requirements of Anders
by presenting a professional evaluation of the record and detailing why
there are no arguable grounds for reversal.&nbsp;
Id. at 744, 87 S.Ct. at 1400; see also High v. State, 573
S.W.2d 807, 810 (Tex. Crim. App. 1978). 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Counsel
represents that he has served a copy of the brief on appellant.&nbsp; Counsel also advised appellant of his right
to examine the appellate record and file a pro se brief.&nbsp; See Stafford v. State, 813 S.W.2d 503,
510 (Tex. Crim. App. 1991).&nbsp; More than 30
days have passed, and appellant has not filed a pro se brief.&nbsp; Having reviewed the record and counsel’s
brief, we agree that the appeal is frivolous and without merit and that there
is no reversible error.&nbsp; See Bledsoe
v. State, 178 S.W.3d 824, 826–27 (Tex. Crim. App. 2005).&nbsp; 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; We
affirm the judgment of the trial court and grant counsel’s motion to withdraw.[1]&nbsp; Attorney Don A. Hecker must immediately send
the notice required by Texas Rule of Appellate Procedure 6.5(c) and file a copy
of that notice with the Clerk of this Court.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; We
deny as moot any pending motions.

PER CURIAM

Panel consists of Chief Justice Radack, and Justices
Alcala and Higley.

Do not publish.&nbsp;
&nbsp;Tex. R. App. P. 47.2(b).











[1]&nbsp; &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Appointed counsel still has
a duty to inform appellant of the result of this appeal and that he may, on his
own, pursue discretionary review in the Texas Court of Criminal Appeals.&nbsp; See Bledsoe v. State, 178 S.W.3d 824,
826-27 (Tex. Crim. App. 2005).&nbsp; 

&nbsp;







